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3
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4    Teresa Morales
5
                                  UNITED STATES DISTRICT COURT
6
                           FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                     )                   Case No. CR S 07–00314 LKK
     UNITED STATES OF AMERICA,        )
9                                     )                   STIPULATION AND ORDER
                Plaintiff,            )                   CONTINUING STATUS CONFERENCE
10                                    )                   AND EXCLUDING TIME
          vs.                         )
11   TERESA MARIA MORALES, ENRIQUE    )
     MORALES, JOSE LUIS MORALES, JUAN )
12                                    )
     MORALES, and PETRA PRECIADO
     MORALES,                         )
13                                    )
                Defendants.           )
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15           A status conference is presently set for April 15, 2014 at 9:15 a.m. The parties are

16   attempting to reach a global resolution of this case, and more time is needed for this purpose, and
17   due to defense counsel’s need for effective preparation, taking into account the exercise of due
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     diligence. 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code T4. The parties hereby stipulate that the
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     status conference shall be continued to May 20, 2014 at 9:15 a.m., and that time be excluded to
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     that date.
21
     DATED: April 11, 2014                                 /s/ Timothy E. Warriner, Attorney for Teresa
22
                                                           Morales
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     DATED: April 11, 2014                                 /s/ Bruce Locke, Attorney for Enrique
24                                                         Morales

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     DATED: April 11, 2014                                 /s/ Dina Santos, Attorney for Jose Luis
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                                                           Morales
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     DATED: April 11, 2014                                 /s/ Kelly Babineau, Attorney for Juan
3                                                          Morales

4    DATED: April 11, 2014                                 /s/ Donald P. Dorfman, Attorney for Petra
                                                           Preciado Morales
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     DATED: April 11, 2014                                 /s/ Kyle Reardon, Assistant U.S. Attorney
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8                                                  ORDER

9           GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties, it is hereby
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     ordered that the status conference set for April 15, 2014 at 9:15 a.m., be continued to May 20,
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     2014 at 9:15 a.m., and that the time beginning April 15, 2014, and extending through May 20,
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     2014, be excluded from the calculation of time under the Speedy Trial Act. The Court finds that
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     the interests of justice served by granting this continuance outweigh the best interests of the
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     public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

16   DATED: April 14, 2014

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